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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                 Plaintiff,         )
                                    )                 4:05CR3006
          v.                        )
                                    )
DUANE A. RYAN,                      )
                                    )                    ORDER
                 Defendant.         )
                                    )



     IT IS ORDERED:

     1. Defendant’s oral motion to reschedule the plea hearing
from June 21 to a new date is granted and the change of plea
hearing is rescheduled to June 15, 2005 at 3:00 p.m. before the
undersigned magistrate judge in Courtroom 2, United States
Courthouse and Federal Building, 100 Centennial Mall North,
Lincoln, Nebraska.

     2. For this defendant, the time between today’s date and
the hearing on the anticipated plea of guilty is excluded for
purposes of computing the limits under the Speedy Trial Act.
See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

     DATED this 25th day of May, 2005.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
